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 3   (916) 444-7420; FAX: (916) 441-6714
 4   Attorney for: MICHAEL LEON W ILLIAMS
 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                     )    No. CR-S-09-196 GEB
 9                                                 )
                       Plaintiff,                  )
10                                                 )    STIPULATION AND ORDER
           vs.                                     )    CONTINUING STATUS
11                                                 )    HEARING
     MICHAEL LEON W ILLIAMS, et. al.               )
12                                                 )
                       Defendant.                  )
13                                                 )
14
           Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER
15
     KMETO, and the United States of America, through its counsel of record,
16
     CAROLYN DELANEY, stipulate and agree to the following:
17
           1. The presently scheduled date of February 11, 2011 for Status Hearing
18
           shall be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said
19
           Hearing be rescheduled for March 11, 2011 at 9:00 a.m..
20
           2. Both parties anticipate completion of settlement negotiations and
21

22         that the case will be ready for entry of plea March 11, 2011. Accordingly, the

23         parties stipulate that time be excluded pursuant to 18 U.S. C. §3161(h)(7)(A)

24         [Local Code T4] – additional time to adequately prepare for pretrial

25         proceedings.

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 1        IT IS SO STIPULATED.

 2   Dated:   February 9, 2011                 /s/ CAROLYN DELANEY
                                              Assistant U.S. Attorney
 3
                                              for the Government
 4

 5
     Dated: February 9, 2011                  /s/ PETER KMETO
 6                                            Attorney for Defendant
                                              MICHAEL LEON W ILLIAMS
 7

 8

 9                                            ORDER
10
                 UPON GOOD CAUSE SHOW N and the stipulation of the two parties,
11
     it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,
12
     only, be continued as set forth above.
13
                 The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)
14
     and Local Rule T-4 until March 11, 2011 for continuity of defense counsel and time
15
     to permit defense counsel to prepare and properly advise his client.
16

17   Dated: February 9, 2011

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                                         GARLAND E. BURRELL, JR.
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                                         United States District Judge
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